               Case 2:18-cv-00791-TC Document 7 Filed 11/20/18 Page 1 of 2




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Bogan, Jeff Dyer, Steven Gorlin, Jon Mogford,
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                           IN THE UNITED STATES DISTRICT COURT

                                        DISTRICT OF UTAH

HENRY MONTHER, derivatively on behalf of POLARITYTE, INC.’S RULE 7.1
POLARITYTE, INC.,                        CORPORATE DISCLOSURE
                                         STATEMENT
            Plaintiff,
                                         Case No. 2:18-cv-00791-TC
     v.
                                         The Honorable Tena Campbell
DENVER LOUGH, MICHAEL BEEGHLEY,
WILLIE C. BOGAN, JEFF DYER, STEVEN
GORLIN, JON MOGFORD, JOHN
STETSON, and EDWARD SWANSON,

                   Defendants,

         and

POLARITYTE, INC.,

                   Nominal Defendant.




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              Case 2:18-cv-00791-TC Document 7 Filed 11/20/18 Page 2 of 2




         Pursuant to Federal Rule of Civil Procedure 7.1, Nominal Defendant PolarityTE, Inc.

(“PolarityTE”), by and through undersigned counsel, hereby discloses the following: PolarityTE

is a publicly held corporation whose shares are traded on NASDAQ. It has no parent company

and no publicly held corporation owns more than 10% or more of PolarityTE’s shares.

         DATED: November 20, 2018                STOEL RIVES LLP

                                                 /s/ Kenneth B. Black
                                                 Kenneth B. Black
                                                 Michael R. Menssen

                                                 Attorneys for Defendants PolarityTE, Inc.,
                                                 Denver Lough, Michael Beeghley, Willie C.
                                                 Gogan, Jeff Dyer, Steven Gorlin, Jon Mogford,
                                                 John Stetson and Edward Swanson




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